Case 3:12-cr-00104-WQH          Document 95         Filed 05/30/13       PageID.168      Page 1 of 1



  1
  2
  3
  4
  5
  6
  7
  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                     CASE NO. 12CR0104-WQH
 12                                           Plaintiff,             JUDGMENT AND ORDER OF
               vs.                                                   DISMISSAL OF INFORMATION
 13
       OSCAR MONROY(1),
 14
 15                                        Defendant.

 16
             Upon motion of the UNITED STATES OF AMERICA and good cause appearing, the
 17
      Information in the above entitled case is dismissed with prejudice, the bond is exonerated and, if held
 18
      by U.S. Pretrial Services, Defendant’s passport is to be released to Defendant.
 19
             IT IS SO ORDERED.
 20
             Dated: 5/21/2013                 .
 21
 22
                                                                 ____________________________________
 23                                                              HONORABLE BARBARA L. MAJOR
                                                                 United States Magistrate Judge
 24
 25
 26
 27
 28


                                                           -1-                                  12CR0104-WQH
